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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS        2QZliPR2I   HIQ:2O
                           AUSTIN DIVISION


PLANNED PARENTHOOD CENTER          §
FOR CHOICE, PLANNED                §
PARENTHOOD OF GREATER TEXAS        §
SURGICAL HEALTH SERVICES,          §
PLANNED PARENTHOOD SOUTH           §
TEXAS SURGICAL CENTER, WHOLE       §
WOMAN'S HEALTH, WHOLE              §
WOMAN'S HEALTH ALLIANCE,           §

SOUTHWESTERN WOMEN'S               §
SURGERY CENTER, BROOKSIDE          §

WOMEN'S MEDICAL CENTER PA          §
D/BA BROOKSIDE WOMEN'S             §

HEALTH CENTER AND AUSTIN'S         §
WOMEN'S HEALTH CENTER,             §
ROBIN WALLACE, M.D., M.A.S.,       §
ALAMO CITY SURGERY CENTER          §
PLLC DIB/A ALAMO WOMEN'S           §
REPRODUCTIVE SERVICES,             §
HOUSTON WOMEN'S                    §
REPRODUCTIVE SERVICES, AND         §

HOUSTON WOMEN'S CLINIC,            §
                PLAINTIFFS,         §

                                    §

V.                                  §      CAUSE NO. A-20-CV-323-LY
                                    §

GREG ABBOTT, GOVERNOR OF            §
TEXAS, KEN PAXTON, ATTORNEY         §
GENERAL OF TEXAS, PHIL WILSON       §
ACTING EXECUTIVE                    §
COMMISSIONER OF THE TEXAS              §
HEALTH AND HUMAN SERVICES           §
COMMISSION, STEPHEN BR1NT              §
CARLTON, EXECUTIVE DIRECTOR            §
OF THE TEXAS MEDICAL BOARD,            §
KATHERINE A. THOMAS,                   §
EXECUTIVE DIRECTOR OF THE              §
TEXAS BOARD OF NURSING, EACH           §
IN THEIR OFFICIAL CAPACITY, AND        §
MARGARET MOORE, DISTRICT               §
ATTORNEY FOR TRAVIS COUNTY,            §
JOE GONZALES, CRIMINAL                 §
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 DISTRICT ATTORNEY FOR BEXAR                      §
 COUNTY, JAIME ESPARZA, DISTRICT                  §
 ATTORNEY FOR EL PASO COUNTY,                     §
 JOHN CREUZOT, DISTRICT                           §
 ATTORNEY FOR DALLAS COUNTY,                      §
 SHAREN WILSON, CRIMINAL                          §
 DISTRICT ATTORNEY TARRANT                        §
 COUNTY, RICARDO RODRIGUEZ, JR.,                  §
 CRIMINAL DISTRICT ATTORNEY                       §
 FOR HIDALGO COUNTY, BARRY                        §
 JOHNSON, CRIMINAL DISTRICT                       §
 ATTORNEY FOR MCLENNAN                            §
 COUNTY, KIM OGG, CRIMINAL                        §
 DISTRICT ATTORNEY FOR HARRIS                     §
 COUNTY, AND BRIAN MIDDLETON                      §
 CRIMINAL DISTRICT ATTORNEY                       §
 FOR FORT BEND COUNTY, EACH IN                    §
 THEIR OFFICIAL CAPACITY,                         §
                  DEFENDANTS.                     §


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       On April 9, 2020, this court entered an Order Granting Plaintiffs' Second Motion for a

Temporary Restraining Order (Dkt. #63). On April 20, 2020, the United States Court of Appeals

for the Fifth Circuit issued an opinion on several Defendants' request for a writ of mandamus and

directed this court to

                 vacate any part of the April 9 TRO that (1) restrains enforcement of
                 GA-09 as a "categorical ban on all abortions provided by Plaintiffs;"
                 (2) restrains the Governor and Attorney General; (3) restrains
                 enforcement of GA-09 after 11:59 p.m. on April 21, 2020; (4)
                 restrains enforcement of GA-09 as to medication abortions; and (5)
                 restrains enforcement of GA-09 as to abortions for patients who will
                 reach 18 weeks LMP during the operation of GA-09 and would be
                 "unlikely" to obtain abortion services in Texas.


In re Abbott,   No. 20-50296 (April 20, 2020). Solely because of the circuit court's order, this court

VACATES only the following portions of the court's April 9, 2020 Order:

                                                       2
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       any part ofthe April 9 TRO that (1) restrains enforcement of GA.09 as a "categorical ban on

all abortions provided by Plaintiffs;" (2) restrains the Governor and Attorney General; (3) restrains

enforcement of GA-09 after 11:59 p.m. on April 21, 2020; (4) restrains enforcement of GA-09 as

to medication abortions; and (5) restrains enforcement of GA-09 as to abortions for patients who will

reach 18 weeks LMP during the operation of GA-09 and would be "unlikely" to obtain abortion

services in Texas.

       In all other respects, the court's April 9, 2020 order remains in full force and effect.

       SIGNED this         (lay of April, 2020.

                                                   TED STATES
